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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

     PRINCETON DIGITAL IMAGE
     CORPORATION,

                            Plaintiff,
                                                          C.A. No. 12-1461 (LPS) (CJB)
                            v.

     KONAMI DIGITAL ENTERTAINMENT INC.,
     HARMONIX MUSIC SYSTEMS, INC. and
     ELECTRONIC ARTS, INC.,

                            Defendants.


     PRINCETON DIGITAL IMAGE
     CORPORATION

                            Plaintiff,
                                                          C.A. No. 13-0335 (LPS) (CJB)
                            v.

     UBISOFT ENTERTAINMENT SA and
     UBISOFT, INC.,

                            Defendants.


             JOINT STIPULATION AND [PROPOSED] SCHEDULING ORDER

         WHEREAS, the parties have moved to modify the schedule;

         IT IS HEREBY STIPULATED AND AGREED, by and between the parties and subject

  to the approval of the Court, that the following deadlines shall apply to the proceedings in these

  actions:




                                                  1
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  Event                             Current Date                       Proposed Date

  PDI supplemental expert report    May 31, 2018                       28 days after Konami
  on infringement regarding                                            Japan production
  Konami

  Konami supplemental rebuttal      June 29, 2018                      August 24, 2018
  expert report

  Expert Discovery Close            July 20, 2018                      September 5, 2018

  Case Dispositive Motions          August 17, 2018                    September 21, 2018
  (CDMs)

  Oppositions to CDMs               September 14, 2018                 October 12, 2018

  Replies ISO CDMs                  October 5, 2018                    October 26, 2018

  Hearing on CDMs                   November 9, 2018                   No change

  Conference to Discuss the Order   February 5, 2019 at 9:00 am        No change
  and Scheduling of Trials

  Pretrial Conference               March 8, 2019 at 11:30 am          No change

  Trial on First Case               April 8, 2019 at 9:30 am           No change




  DATED: _______________, 2018                        ___________________________
                                                      The Honorable Christopher J. Burke
                                                      United States Magistrate Judge




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